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                                       Schedule of Rents
                                           June 2022

                                   Jackson Heights (3 Family)
                 Rent Collected                                 Expenses Incurred
1st Flr: 2800                                    Water:     0
2nd Flr: 2550                                    Taxes:     0
3rd Flr: 3150                                    Insurance: 753.80
                                                 Maintenance: 1,200 (to debtor)
                                                 Gas/Oil: 0
                                                 Electric: 0
                                                 Family Distribution: 0
                                                 Repairs: 0
                                                 Professional Fees: 0
Total:   $8500                                   Total: 1,953.80


                                      Brooklyn (8 Family)
                 Rent Collected                                 Expenses Incurred
1r: 1073                                         Water:     0
1l: 1028                                         Taxes:     0
2r: 1190                                         Insurance: 0
2l: 1080                                         Maintenance: 1,200 (to debtor)
3r: 1080                                         Gas/Oil: 0
3l: 1274                                         Electric: 0
4r: 1174                                         Family Distribution: 0
4l: 1066                                         Repairs: 0
                                                 Garbage: 210
                                                 Legal Fees: 0
Total:   $8965                                   Total:    1410
